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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS



 COMMONWEALTH OF MASSACHUSETTS,
                                                                  Case No. 1:20-cv-11616
                                         Plaintiff,
                         v.

 CARGILL, INC. and SALT CITY, INC.,

                                         Defendants.




                                      CONSENT DECREE

       WHEREAS, Cargill, Inc. (“Cargill”) owns and Salt City, Inc. (“Salt City”) operates a

road salt warehousing, storage, and transportation facility at 163 Union Street in Westfield,

Massachusetts (the “Facility”);

       WHEREAS, the Commonwealth of Massachusetts (“Commonwealth”), acting through

the Office of the Attorney General (“Attorney General’s Office”), alleges in its Complaint that

Cargill and Salt City (jointly the “Companies”) have discharged industrial stormwater from the

Facility into the Westfield municipal separate storm drain system, which discharges into

Powdermill Brook, a tributary of the Westfield River, without obtaining and complying with a

federal stormwater permit issued by the United States Environmental Protection Agency

(“Stormwater Permit”), in violation of the Federal Clean Water Act, 33 U.S.C. §1331(a);

       WHEREAS, on August 9, 2019, the Attorney General’s Office provided notice of the

alleged violations and of the Attorney General’s Office’s intention to file suit against the

Companies (“Notice”) to the Administrator of the United States Environmental Protection

Agency (“EPA”); the Administrator of EPA Region 1; the Massachusetts Department of




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Environmental Protection; and to the Companies, pursuant to Section 505 of the Federal Clean

Water Act, 33 U.S.C. §1365;

       WHEREAS, following receipt of the August 9, 2019 Notice, the Companies have taken

certain steps, including obtaining coverage under the EPA’s Multi-Sector General Permit for

Industrial Activities (“MSGP”) and developing and implementing plans for an amended Storm

Water Pollution Prevention Plan (“SWPPP”) under the Stormwater Permit, and to properly

control and monitor stormwater pollutant discharges from the Facility pursuant to the standards

of the MSGP;

       WHEREAS, the Companies anticipate that these steps, together with the implementation

of the measures set forth herein and in the Companies’ SWPPP for the Facility, will enable them

to comply with the requirements of the Federal Clean Water Act;

       WHEREAS, today the Attorney General filed a complaint against the Companies in the

United States District Court, District of Massachusetts;

       WHEREAS, the Attorney General’s Office, Cargill, and Salt City have reached an

agreement to resolve the ligation; and

       WHEREAS, this Consent Decree shall be submitted to the United States Department of

Justice for the 45-day statutory review period, pursuant to 33 U.S.C. § 1365(c).

       NOW THEREFORE, based on the Joint Motion of the Parties for Entry of this Consent

Decree, before taking any testimony, without the adjudication of any issues of fact or law except

as provided in Section 1 (Jurisdiction and Venue), and without the Parties admitting or denying

any allegations, it is ADJUDGED, ORDERED, AND DECREED, as follows:




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                               I. JURISDICTION AND VENUE

       1.      This Court has jurisdiction over the parties and the subject matter of this action

pursuant to Section 505(a)(1)(A) of the Federal Clean Water Act, 33 U.S.C. § 1365(a)(1)(A), and

28 U.S.C. § 1331 (an action arising under the laws of the United States). Venue is proper in the

District of Massachusetts pursuant to Section 505(c)(1) of the Federal Clean Water Act, 33

U.S.C. § 1365(c)(1).

       2.      The Complaint alleges facts that, if proven, would constitute good and sufficient

grounds for the relief set forth in this Consent Decree.

                                     II. EFFECTIVE DATE

       3.      The effective date of this Consent Decree (“Effective Date”) shall be when the

Court enters the Consent Decree on the docket.

                                     III. PARTIES BOUND

       4.      This Consent Decree shall constitute a binding agreement between the parties, and

the Companies each consent to its entry as a final judgment by the Court and waive all rights of

appeal upon its entry on the docket. If the Court declines to enter this Consent Decree on any

ground except one related to form, this Consent Decree is voidable at the option of any party

within fourteen (14) days of the Court’s decision. If, on the other hand, the Court determines that

substantive modifications to this Consent Decree are necessary prior to the Court’s entry of it,

the parties shall enter into good faith negotiations to discuss the modifications, and this Consent

Decree shall be void unless the Commonwealth, Cargill, and Salt City agree otherwise in writing

within fourteen (14) days of the Court’s decision.

       5.      The provisions of this Consent Decree shall apply to and bind Cargill and any

person or entity acting by, for, or through Cargill whose duties might include compliance with



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and provision of this Consent Decree, including Cargill’s managers, directors, officers,

supervisors, employees, agents, servants, attorneys-in-fact, successors, and assigns who have

such duties, and those persons in active concert or participation with Cargill who receive notice

of this Consent Decree.

       6.      The provisions of this Consent Decree shall apply to and bind Salt City and any

person or entity acting by, for, or through Salt City whose duties might include any provision of

this Consent Decree, including Salt City’s managers, directors, officers, supervisors, employees,

agents, servants, attorneys-in-fact, successors, and assigns who have such duties, and those

persons in active concert or participation with Salt City who receive notice of this Consent

Decree.

       7.      Cargill shall provide a true copy of this Consent Decree to all of its managers,

directors, officers, supervisors, employees, and agents whose duties might include compliance

with any provision of this Consent Decree. Cargill shall also provide a copy of this Consent

Decree to any contractor retained by it to perform stormwater management improvements

required under this Consent Decree and shall inform each contractor of the obligation to perform

its work in compliance with the terms of this Consent Decree. Copies provided to agents and

contractors may be redacted to keep financial provisions confidential.

       8.      Salt City shall provide a true copy of this Consent Decree to all of its managers,

directors, officers, supervisors, employees, and agents whose duties might include compliance

with any provision of this Consent Decree. Salt City shall also provide a copy of this Consent

Decree to any contractor retained by it to perform stormwater management improvements

required under this Consent Decree and shall inform each contractor of the obligation to perform




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its work in compliance with the terms of this Consent Decree. Copies provided to agents and

contractors may be redacted to keep financial provisions confidential.

       9.      This Consent Decree is binding upon all successors and assigns. At least thirty

(30) days prior to any change or transfer in ownership, management, or operation of the Facility

to an independent, unrelated person or entity, the Companies shall provide a copy of this Consent

Decree to the proposed owner, new manager, or operator (collectively the “transferee”) and shall

simultaneously provide written notice of the prospective change or transfer in ownership,

management, or operation of the Facility, or any portion thereof, together with a copy of the

proposed written change or transfer agreement, to the Attorney General by email in accordance

with Section X (Notices) of this Consent Decree. No change or transfer in ownership,

management, or operation of the Facility or any portion thereof, whether in compliance with the

procedures of this Paragraph or otherwise, shall relieve the Companies’ or their managers,

directors, officers, supervisors, employees, agents, servants, attorneys-in-fact, successors, or

assigns of any obligation under this Consent Judgment, unless:

            a. The transferee agrees, in writing, to undertake the obligations required by Section

               IV (Payments), Section V (Injunctive Relief), and Section VI (Facility Access and

               Submission of Records) and to be added as a defendant or substituted for one or

               more of the Companies as a Party under the Consent Decree and thus assume the

               obligations, rights, and benefits of, and be bound by, its terms;

            b. The Commonwealth agrees to consent, in writing, with such consent not being

               unreasonably denied or delayed, to relieve the one or more of the Companies of

               its obligations under the Consent Decree; and

            c. The transferee becomes a party to this Consent Decree pursuant to Paragraph 36.



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             d.   Any attempt to change or transfer ownership, management, or operation of the

                  Facility without complying with this Paragraph shall constitute a violation of this

                  Consent Decree.

       10.        Neither Cargill nor Salt City shall violate this Consent Decree, and neither

company shall allow their officers, directors, agents, servants, attorneys-in-fact, employees,

successors, assigns, or contractors to violate this Consent Decree. In any action to enforce this

Consent Decree, neither Cargill nor Salt City shall raise as a defense the failure by any of Cargill

or Salt City’s managers, directors, officers, supervisors, employees, agents, or contractors to take

any actions necessary to comply with the provisions of this Consent Decree.

       11.        In addition to any relief specifically provided in this Consent Decree, the

Companies understand and agree that violations of this Consent Decree may by punishable by

contempt pursuant to an appropriate civil contempt proceeding.

                                           IV. PAYMENTS

Payments by Cargill

       12.        Within thirty (30) days of the Effective Date, Cargill shall pay to the Westfield

River Watershed Association the sum of forty thousand dollars ($40,0000) for projects to

improve water quality in the Westfield River. Cargill’s payment shall be made by wire transfer to

the bank account for the Westfield River Watershed Association, in accordance with written

instructions provided to Cargill’s attorney by the Attorney General’s Office. Evidence of

Cargill’s wire payment to the Westfield River Watershed Association shall be

contemporaneously provided to the Commonwealth in accordance with the notice provision of

paragraph 34.




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       13.     Within thirty (30) days of the Effective Date Cargill shall reimburse the Attorney

General’s Office in the amount of fifteen thousand dollars ($15,000) to defray the Attorney

General’s Office’s costs, including attorney fees, incurred in connection with its work on this

matter. Payment should be made by Electronic Funds Transfer (“EFT”) to the Commonwealth of

Massachusetts in accordance with current EFT procedures, using the following account

information:

       COMMONWEALTH OF MASSACHUSETTS, OFFICE OF ATTORNEY GENERAL




       REFERENCE: EPD, COMMONWEALTH v. CARGILL, INC.

Any payments received by the Commonwealth after 4:00 P.M. (Eastern Time) will be credited

on the next business day. At the time of payment, Cargill shall send notice that such payment has

been made to the Commonwealth in accordance with the notice provision of Paragraph 34.

Payments by Salt City

       14.     Salt City shall pay to the Westfield River Watershed Association the sum of forty

thousand dollars ($40,0000) for projects to improve water quality in the Westfield River. Salt

City shall make this payment in equal monthly installments of six thousand, six hundred seventy

dollars ($6,670.00) commencing on the first day of the month following the Effective Date (but

no sooner than 30 days thereafter) and continuing for a period of six (6) months. Salt City’s

monthly payments shall be made by wire transfer to the bank account for the Westfield River

Watershed Association, in accordance with written instructions provided to Salt City’s attorney

by the Attorney General’s Office. Evidence of Salt City’s wire payment to the Westfield River




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Watershed Association shall be contemporaneously provided to the Commonwealth in

accordance with the notice provision of paragraph 34.

       15.     Within thirty (30) days of the Effective Date Salt City shall reimburse the

Attorney General’s Office in the amount of fifteen thousand dollars ($15,000) to defray the

Attorney General’s Office’s costs, including attorney fees, incurred in connection with its work

on this matter. Payment should be made by Electronic Funds Transfer (“EFT”) to the

Commonwealth of Massachusetts in accordance with current EFT procedures, using the

following account information:

       COMMONWEALTH OF MASSACHUSETTS, OFFICE OF ATTORNEY GENERAL




       REFERENCE: COMMONWEALTH v. SALT CITY, INC.

Any payments received by the Commonwealth after 4:00 P.M. (Eastern Time) will be credited

on the next business day. At the time of payment, Salt City shall send notice that such payment

has been made to the Commonwealth by electronic mail in accordance with the notice provision

of Paragraph 34.

                                  V. INJUNCTIVE RELIEF

       16.     The Companies agree to operate the Facility in compliance with the applicable

requirements of the Stormwater Permit, including any amendments thereto, and with the Federal

Clean Water Act.

       17.     Industrial Stormwater

               a.   Improve Pollutant Reduction Measures. The Companies will direct and

                    properly control stormwater at the Facility to minimize pollutants “to the

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         extent achievable using control measures (including best management

         practices) that are technologically available and economically practicable

         and achievable in light of best industry practice” in Stormwater discharges

         from the Facility. See MSGP Section 2.0. Specifically, the Companies will

         take the following actions by the following dates:

           i.   By the Effective Date, the Companies will properly control dust

                without allowing discharge of dust control water into the Westfield

                municipal separate storm drain system.

         ii.    By the Effective Date, the Companies will ensure that any

                precipitation that enters salt-storage building structures during floods,

                storm events, or as a result of snowmelt, is appropriately removed or

                disposed of and not discharged into the Westfield municipal separate

                storm drain system. Subject to the implementation of the measures

                described in Subparts (iv) and (v) of this section, the Companies will

                ensure that any brine water that collects under or adjacent to the

                outdoor salt pile after floods, storm events, or as a result of snowmelt,

                is appropriately removed or disposed of and is not discharged into the

                Westfield municipal separate storm drain system.

         iii.   Within two (2) months of the Effective Date, the Companies shall,

                a. to the maximum extent practicable, minimize the presence and

                   footprint of exposed salt at the Facility;




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               b. ensure that the untreated salt pile is properly covered in accordance

                  with Appendix 12 of the Facility’s Stormwater Pollution

                  Prevention Plan and with best industry practice; and

               c. ensure that opening, re-covering, and overall management of the

                  untreated salt pile is designed to minimize the potential for

                  precipitation coming into contact with the untreated salt.

         iv.   Within six (6) months of the later of either the Effective Date or the

               obtaining of all permits required for the work (with appeal periods

               expired), the Companies shall install an asphalt berm along the

               southwest perimeter of the outdoor salt storage pad. The berm shall be

               toed into the existing pad and be six inches tall and two hundred and

               forty (240) feet long. The berm will divert stormwater from going

               under the outdoor salt pile and deter any ponding adjacent to or under

               the outdoor salt pile. The location of the berm is depicted on Exhibit A

               hereto. To the extent that any permits or approvals are required for this

               work, the Companies shall—no later than one (1) month after the

               Effective Date—submit complete applications for all such permits and

               approvals and shall take all other actions necessary to obtain all such

               permits and approvals.

          v.   Within six (6) months of the later of either the Effective Date or the

               obtaining of all permits required for the work (with appeal periods

               expired), the Companies shall plug the two catch basins in the vicinity

               of the outdoor salt pile so that no stormwater runoff or snow melt



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                           enters these two catch basins. The location of these catch basins is

                           depicted on Exhibit A hereto. To the extent that any permits or

                           approvals are required for this work, the Companies shall—no later

                           than one (1) month after the Effective Date—submit complete

                           applications for all such permits and approvals and shall take all other

                           actions necessary to obtain all such permits and approvals.

               b.   Document Rail Conveyor Operations. Within one month of the first salt

                    unloading event following the Effective Date, the Companies shall provide

                    the Attorney General’s Office with a video recording of the operation of the

                    rail conveyor and surrounding area during unloading of salt from the rail

                    cars. The video recording shall make clear and evident, through visual

                    imagery and/or by accompanying written narrative certified under pains and

                    penalties of perjury as to accuracy:

                      i.   the date and time on which it was recorded;

                    ii.    the location or locations at which it was recorded;

                    iii.   the persons present during the unloading event;

                    iv.    the way the unloading occurred;

                     v.    the way dust was suppressed during the unloading; and

                    vi.    the extent and nature of any spillage of salt or other materials during

                           the unloading.

               VI. FACILITY ACCESS AND SUBMISSION OF RECORDS

       18.     The Companies shall permit the Attorney General’s Office to visit the Facility

during normal daylight business hours during each year for the three (3) years following the



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Effective Date, provided that the Attorney General’s Office provides at least twenty-four (24)

hours of prior notice, visits during standard operating hours, and complies with all health and

safety requirements. During any site visit, the Attorney General’s Office shall have access to and

permission to copy any documentation required to be kept on site by the Stormwater Permit and

may collect samples and take photos at the Facility. Any sampling shall involve split sampling

so that both the Attorney General’s Office and the Facility may independently test the samples.

The Attorney General’s Office will provide the Facility with copies of photos taken at the

Facility.

        19.    During the first year following the Effective Date, the Companies shall, to the

extent practicable, provide at least 24-hours of advance notice to the Attorney General’s Office

of five expected rail car unloading dates and times so that a representative from the Attorney

General’s Office may elect to observe the activities while they are occurring.

        20.    For a period of three (3) years following the Effective Date, the Companies shall

provide the Attorney General’s Office with the following documents in accordance with Section

X (Notices), below:

               a.     Copies of all documents Cargill and Salt City submit to EPA, the

                      Commonwealth of Massachusetts, and/or the Town of Westfield concerning

                      the Companies’ stormwater controls or the quality of the Companies’

                      stormwater discharges, including but not limited to all documents and

                      reports submitted as required by the Stormwater Permit. Such documents

                      and reports shall be sent to the Attorney General’s Office on the same day

                      that they are submitted to the governmental entity.




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               b.   All maintenance records for the Facility’s stormwater pollution control

                    systems. Maintenance records will be provided within ten (10) business days

                    of the Companies’ receipt of a written request by the Attorney General’s

                    Office.

               c.   Timely written notice of any planned or completed changes to the

                    Companies’ stormwater control measures, with dates of anticipated or

                    completed changes.

               d.   Current copies the Companies’ SWPPP within three (3) business days of a

                    request by the Attorney General’s Office.

               e.   Laboratory reports and analytical results of stormwater sampling performed

                    by or for either company within ten (10) business days of receiving the

                    reports.

       21.     Any information provided by the Companies may be used by the Commonwealth

in any proceeding to enforce the provisions of this Consent Decree and as otherwise permitted by

law. The video recordings described in Paragraph 17 will be used solely for enforcement

purposes related to this Consent Decree.

       22.     The Consent Decree in no way limits or affects any right of entry and inspection

or any right to obtain information held by the Commonwealth of Massachusetts or any of its

branches, departments, agencies, or offices pursuant to applicable federal or state laws,

regulations, or permits, nor does it limit or affect any duty or obligation of either company to

maintain documents, records, or other information imposed by applicable federal or state laws,

regulations, or permits.




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                            VII. EFFECT OF CONSENT DECREE

       23.     Upon compliance by the Companies with the requirements of this Consent

Decree, (a) this Consent Decree shall resolve the Companies’ liability for the specific legal

claims alleged against them in the Complaint (which shall have a copy of the August 9, 2019

Notice attached as an exhibit), and (b) the Commonwealth shall release the Companies from

liability for the specific legal claims alleged against them in the Complaint. Notwithstanding the

foregoing, the Commonwealth expressly reserves all claims for injunctive relief for violations of

any of the statutes or regulations referred to in the Consent Decree, whether based upon conduct

violating the terms of this Consent Decree or based upon conduct occurring after the execution

of this Consent Decree.

       24.     Nothing in this Consent Decree (a) shall bar any action by the Commonwealth on

any legal claim not specifically pleaded in the Complaint or for any violations not revealed to the

Commonwealth; (b) shall be deemed to excuse non-compliance by either Company, or any of the

persons or entities otherwise bound by this Consent Decree with any law or regulation; or (c)

shall preclude a separate or ancillary action by the Commonwealth to enforce the terms of this

Consent Decree or any permit or other approval issued by the Massachusetts Department of

Environmental Protection or EPA relative to the Facility.

       25.     This Consent Decree is not a permit, or a modification of any permit, under any

federal, state, or local laws or regulations. The Companies are responsible for achieving and

maintaining complete compliance with all applicable federal, state, and local laws, regulations,

and permits; and the Companies’ compliance with this Consent Decree shall not be a defense to

any action commenced pursuant to any such laws, regulations, or permits, except as set forth

herein. The Attorney General’s Office does not, by its consent to the entry of this Consent



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Decree, warrant or aver in any manner that the Companies’ compliance with any aspect of this

Consent Decree will result in compliance with provisions of any federal, state, or local law,

regulation, or permit.

       26.     Nothing in this Consent Decree shall be construed to create any rights in, or grant

any cause of action to, any person not a party to this Decree.

                                    IX. MISCELLANEOUS

       27.     Cargill and Salt City understand and agree that, pursuant to 11 U.S.C. § 523(a)(7),

the costs or sums that Cargill and Salt City may be required to pay under this Consent Decree are

not subject to discharge in any bankruptcy.

       28.     Cargill and Salt City shall pay all reasonable expenses, including reasonable

attorney fees and costs, incurred by the Commonwealth in the enforcement of this Consent

Decree against them.

       29.     Nothing in this Consent Decree shall prevent Cargill or Salt City from taking any

action otherwise required by law.

       30.     The titles in this Consent Decree have no independent legal significance and are

used merely for the convenience of the parties.

       31.     In computing any period of time under this Consent Decree, where the last day

would fall on a Saturday, Sunday, or State or Federal holiday, the period shall run until the close

of business on the next Business Day.

       32.     Cargill and Salt City are jointly and severally responsible for complying with this

Consent Decree and are jointly and severally liable for violations of this Consent Decree so long

as they both remain parties to this Consent Decree. Should a transferee be substituted for either

Cargill or Salt City pursuant to paragraph 9 of this Consent Decree, then the remaining party and



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the transferee will be jointly and severally responsible for complying with this Consent Decree

and will be jointly and severally liable for violations of this Consent Decree.

       33.     Signature of the parties transmitted by scanning and email are binding.

                                           X. NOTICES

       34.     Unless otherwise specified in this Consent Decree, notices and submissions

required by this Decree shall be made in writing by email to the following addresses:

               For the Attorney General’s Office and the Commonwealth:

               Nora J. Chorover
               Special Assistant Attorney General
               Environmental Protection Division
               Office of the Attorney General
               One Ashburton Place, 18th Floor
               Boston, MA 02108
               Nora.chorover@mass.gov

               For Cargill:

               Gina Young, Senior Lawyer
               Cargill
               15407 McGinty Road West MS24
               Wayzata, MN 55391
               gina_young@cargill.com



               For Salt City:

               Mike and Jodie Gaugh
               Salt City, Inc.
               163 Union Street
               Westfield, MA 01085
               ssaltcitywestfield@juno.com

or, to such other place or to the attention of such other individual as a party may from time to

time designate by written notice to the other parties to this Consent Decree.




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                                       XI. INTEGRATION

       35.     Except as expressly set forth in this Consent Decree, this Consent Decree sets

forth all of the obligations of the parties and represents the complete and exclusive statement of

the parties with respect to the terms of the settled agreement embodied by this Consent Decree;

any other representations, communications, or agreements by or between parties shall have no

force and effect.

                                     XII. MODIFICATION

       36.     The terms of this Consent Decree may be modified only by a subsequent written

agreement signed by the parties. Where the modification constitutes a material change to any

term of this Consent Decree, it shall be effective only by written approval of the parties and the

approval of the Court. The Commonwealth’s decision to extend a deadline in this Consent

Decree shall not constitute a material change for purposes of this Paragraph. Three (3) years

from the Effective Date, provided there are no pending enforcement actions related to this

Consent Decree or outstanding disputes about compliance with this Consent Decree, the

Companies’ obligations under the Consent Decree shall terminate and the Commonwealth shall

be deemed to have released the Companies from the violations alleged in the Complaint and the

August 9, 2019 Notice Letter.

                                    XIII. FORCE MAJEURE

       37.     Any request to extend the deadlines set forth in Section V (Injunctive Relief) shall

be made in writing by the Companies to the Attorney General’s Office prior to the expiration of

the deadline. Upon receipt of a timely request for an extension under this Paragraph, the

Attorney General’s Office may, in its discretion, grant additional time if it is persuaded that the

delay in performance is the result of circumstances beyond the Companies’ control. The



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Attorney General’s Office shall not unreasonably withhold or condition an extension, but in the

event the Attorney General’s Office does withhold an extension, the Companies shall bear the

burden of demonstrating that (a) the delay in performance is the result of circumstances beyond

its control and (b) the delay could not have been prevented or avoided by the reasonable exercise

of due care, foresight, or due diligence on the part of the Companies. Force majeure may include,

but is not limited to, delays in performance resulting from a failure to obtain or a delay in

obtaining, any permit required for the performance of obligations under this Consent Decree,

provided that one or the other of the Companies has submitted timely and complete applications

and taken all other actions necessary to obtain all such permits and approvals. The written notice

of delay to the Attorney General’s Office shall state the anticipated length of delay, the cause of

the delay, and the steps or measures the Companies will take to prevent or minimize the delay.

The Companies shall adopt reasonable measures to avoid or minimize the delay. Failure to

comply with the notice requirements of this Paragraph shall constitute waiver by the Companies

of their right to request an extension of time with regard to any delay, and a waiver of any right

to relief from the deadlines in Section V (Injunctive Relief). Except as excused by the Attorney

General’s Office pursuant to this Paragraph, delay on the part of the Companies’ contractors,

subcontractors, or consultants shall be attributable to the Companies and financial inability or

increased costs shall not constitute a force majeure condition. If the Parties are unable to reach an

agreement on differences about a delay by informal negotiation or other mutually agreeable

means of dispute resolution, then the Companies may seek review of the Attorney General’s

Office’s determination in the United States District Court for the District of Massachusetts, and

the Companies shall bear the burden of demonstrating that the Attorney General’s Office’s

determination on was arbitrary and capricious or otherwise not in accordance with law.



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                                XIV. AUTHORITY OF SIGNATORY

       38.     The person signing this Consent Decree on behalf of Cargill acknowledges: (a)

that he or she has personally read and understands each of the numbered Paragraphs of this

Consent Decree, including any Appendices attached to it; (b) that, to the extent necessary,

Cargill’s managers, directors, officers, and shareholders have consented to Cargill entering this

Consent Decree and to its entry as a Final Judgement; and (c) that he or she is authorized to sign

and bind Cargill to the terms of this Consent Decree.

       39.     The person signing this Consent Decree on behalf of Salt City acknowledges: (a)

that he or she has personally read and understands each of the numbered Paragraphs of this

Consent Decree, including any Appendices attached to it; (b) that, to the extent necessary, Salt

City’s managers, directors, officers, and shareholders have consented to Salt City entering this

Consent Decree and to its entry as a Final Judgement; and (c) that he or she is authorized to sign

and bind Salt City to the terms of this Consent Decree.

                           XV. RETENTION OF JURISDICTION

       40.     The Court shall retain jurisdiction over this case for purposes of resolving

disputes that arise under this Consent Decree, entering orders modifying this Consent Decree, or

effectuating or enforcing compliance with the terms of this Consent Decree.

                                  XVI. FINAL JUDGEMENT

       41.     Upon approval and entry of this Consent Decree by the Court this Consent Decree

shall constitute a Final Judgement of the Court.




                                                                                                   19
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OFFICE OF THE ATTORNEY GENERAL
MAURA HEALEY, ATTORNEY GENERAL

___________________________
Nora J. Chorover
Special Assistant Attorney General
Environmental Protection Division
Office of the Attorney General
One Ashburton Place, 18th Floor
Boston, MA 02108
617-963-2642
Nora.chorover@mass.gov

Dated: August 31, 2020

CARGILL, INC.

By: ___________________________________
Sonya Roberts, President & Salt Group Leader
Cargill, Incorporated
9320 Excelsior Boulevard, 6th Floor
Hopkins, MN 55343

Dated:


SALT CITY, INC.

By: _________________________________
Leon Normandeau, President
Salt City, Inc.
40 Hayes Ave.
West Springfield, MA 01089

Dated:


IT IS SO ORDERED. JUDGMENT is hereby entered in accordance with the foregoing.

By the Court:

_________________________________

United States District Court

Dated: __________________________

                                                                             20
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       August 20, 2020
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                                                                                                                                                                                                                                                                                    Case 3:20-cv-11616-KAR Document 10-1 Filed 10/20/20 Page 23 of 23




                                                                                                                   SD
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                                                                                                                                                                                                                                                                                                                                               OUTFALL 006




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                                                                                                                                                                                                    WESTFIELD MS4                                                                                                                                                                                                                  WESTFIELD MS4                                                                                                                 WESTFIELD MS4
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       SD
                                                                                                                                       OUTFALL 001                                                                                                    UNTREATED SALT                                                                                                                                                                                                                                                                                                                       TO WESTFIELD MS4
                                                                                                                                                                                                                                                                                                                                          DA6




                                                                                                                                                                                               SD
                                                                                                                                                                                                                                                         STORAGE PAD




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                                                                                                                                       DA1                                                                                                                                                                                                                                                                                                                                              SD                                                                       DA7             OUTFALL 007




                                                                                                                                                                                                                                                                                               SD
                                                                                                                                                                                                                                                                                                                                                                                                   ABANDON CATCH BASINS AND
                                                                                                                                                                                                                                                                                                                                                                                                   ASSOCIATED STORMWATER LINES                                                    SD
                                                                                                                                                                                                                                                                                                                                                                                                   AND INSTALL PAVEMENT SWALE




                                                                                                                                                                                                                                                                                     SD
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                                                                                                                                                                                                                                                                               SD
                                                                                                                                                                                                                                                                                                                                     PLUG CATCH BASINS
                                                                                                                                                                                                              DA5                                                                                                                                                                                                                                                               AND SURROUNDING GRADE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                TO RECEIVE DRAINAGE OF




                                                                                                                                                                                                                                                                                    SD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                PAVEMENT SWALE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PIPE DISCHARGE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TREATED SALT SHED                                                          TO SWALE




                                                                                                                                                                                                                                                                                          SD

                                                                                                                                                                                                                                                                                                SD
                                                                                                                                                                                                                                                                                                                                                                                                                              EXISTING 6' TALL
                                                                                                                                                                                                                                                                                                                                                                                                                              CONCRETE WALL




                                                                                                                                                                                                                                                                                                      SD

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                                                                                                                                                                                                                 CONSTRUCT BERM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  OUTFALL 003




                                                                                                                                                                                                                                                                                                                 SD
                                                                                                                                                                                                              ASPHALT BERM




                                                                                                                                                                                                                                                                                                                      SD
                                                                                                                                                                                                                                                                                                                                   PLUG CATCH BASIN
                                                                                                                                                                                                                                                                                                                                CB-4




                                                                                                                                                                                                                                                                                                                                                           DA3




                                                                                                                                                                                                                                                                                                                                                                                                                                                      TREATED SALT SHED




                                                                                                                                                                                                                                                  TREATED SALT STORAGE BUILDING
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               UNNAMED TRIBUTARY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               TO POWDERMILL BROOK
                                                                                                                                                                                                                                                                  DA2


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            NON-INDUSTRIAL

                                                                                                                                                                                                                                                                                                                                                                                                              OUTFALL 002
C:\_CAD\1690018010_CARGILL_WESTFIELD_MA\_STORMWATER_SURVEY < EXHIBIT A_REV2020-0805 >




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                                                                                        NOTES:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SCALE IN FEET
                                                                                        1.   BASE MAPPING HEREON WAS PROVIDED BY A TOPOGRAPHICAL SURVEY PERFORMED BY                                                                                                                                                                                                                                                       LEGEND:
                                                                                             BSC GROUP IN JULY 2020.                                                                                                                                                                                                                                                                                                                   FACILITY BOUNDARY (APPROXIMATE)

                                                                                        2.   UNDERGROUND UTILITY LOCATIONS SHOWN HEREON ARE BASED UPON SURFACE                                                                                                                                                                                                                                                                         PAVEMENT SWALE
                                                                                             FEATURES AS LOCATED BY SURVEY AND AVAILABLE RECORD DATA, AND ARE                                                                                                                                                                                                                                                                          ASPHALT BERM
                                                                                             APPROXIMATE.
                                                                                                                                                                                                                                                                                                                                                                                                                                       STORM DRAIN MANHOLE                                                                                                                                                         INDUSTRIAL STORMWATER
                                                                                        3.   WESTFIELD MS4 DISCHARGES TO POWERMILL BROOK.
                                                                                                                                                                                                                                                                                                                                                                                                                                       CATCH BASIN                                                                                                                                                                  POLLUTANT REDUCTION
                                                                                        4.   THE 240' ASPHALTIC BERM IS DESIGNED TO DEFLECT STORMWATER AWAY FROM THE                                                                                                                                                                                                                                                                   FIRE HYDRANT                                                                                                                                                                      MEASURES
                                                                                             UNTREATED SALT STORAGE PAD. THE EXACT LOCATION AND CONFIGURATION OF THE
                                                                                             BERM WILL BE DETERMINED UPON COMPLETION OF DETAILED DESIGN. ASPHALT BERM                                                                                                                                                                                                                                                                  EDGE OF TRAVEL WAY

                                                                                             SHOWN IS FOR VISUAL CLARITY AND IS NOT REPRESENTATIVE OF PHYSICAL DIMENSIONS.                                                                                                                                                                                                                                                   SD        STORM DRAIN LINE                                                                                                                                                                    CARGILL, INC.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         163 UNION STREET
                                                                                        5.   THE PAVEMENT SWALE IS DESIGNED TO PREVENT STORMWATER FROM COLLECTING ON                                                                                                                                                                                                                                                                   OUTFALL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        WESTFIELD, MA 01085
                                                                                             THE UNTREATED SALT STORAGE PAD. THE EXACT LOCATION AND CONFIGURATION OF THE
                                                                                                                                                                                                                                                                                                                                                                                                                                       UNTREATED SALT STORAGE PAD
                                                                                             PAVEMENT SWALE WILL BE DETERMINED UPON COMPLETION OF DETAILED DESIGN.
                                                                                                                                                                                                                                                                                                                                                                                                                                       NON-INDUSTRIAL AREA
                                                                                        6.   CATCH BASINS CB-1, CB-2, AND CB-4 WILL BE ABANDONED IN PLACE WITH IMPERMEABLE
                                                                                                                                                                                                                                                                                                                                                                                                                                       CONCRETE WALL
                                                                                             MATERIAL INCLUDING ANY ASSOCIATED STORMWATER LINES.
PRAMIREZ 8/5/20




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CHECKED BY: CM        DATE: 8/5/2020        EXHIBIT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         DRAFTED BY: LTE/APR   SCALE: 1" = 40'

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         APPROVED BY: RBP      PROJECT: 1690018010
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